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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             )
                                     ) Case No. 20-cr-10111-RWZ
CHARLES LIEBER,                      )
                                     )
      Defendant.                     )
____________________________________)


   DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF HIS MOTION TO
                SUPPRESS POST-ARREST STATEMENTS




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                             I.     PRELIMINARY STATEMENT

       Defendant Charles Lieber respectfully submits this Memorandum of Law in support of

his Motion To Suppress Post-Arrest Statements that were obtained in violation of his rights

under the U.S. Constitution. On January 28, 2020, two special agents (collectively, “Agents”) of

the Federal Bureau of Investigation (“FBI”) took Professor Lieber into custody and read him his

Miranda rights. Professor Lieber requested legal counsel. The Agents understood Professor

Lieber’s request, but ignored it. Instead, the Agents unlawfully employed tactics of trickery and

coerced involuntary statements from Professor Lieber. Accordingly, all the statements Professor

Lieber made after he unequivocally invoked his right to legal counsel, and all evidence derived

therefrom, should be suppressed, along with the videotape.

                  II.    FACTUAL AND PROCEDURAL BACKGROUND

       Professor Lieber is a United States citizen and professor in the Department of Chemistry

and Chemical Biology at Harvard University. (Dkt. No. 35 at ¶ 1). He is one of the world’s

foremost authorities and scholars in the field of nanoscience, the study of structures and

materials on a microscopic scale. At the time of his arrest, he was the Chair of the Department

of Chemistry and Chemical Biology, and in the course of his distinguished career, he had

published over 400 papers in peer-reviewed journals, and was the principal inventor on more

than 50 patents. See id. He also served as the Principal Investigator of the Lieber Research

Group at Harvard. The National Institutes of Health (“NIH”) and the Department of Defense

(“DOD”) funded the Lieber Research Group through research grants awarded to Harvard

University. See id. at ¶ ¶ 2-7.




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       At the time of Professor Lieber’s arrest, he was 60 years old, battling follicular

lymphoma, a blood cancer for which there is no cure. That struggle continues today.

A.     The Charges

       On January 28, 2020, Professor Lieber was arrested upon a criminal complaint and

charged in two counts with violations of 18 U.S.C. § 1001. (Dkt. No. 1).

       On June 9, 2020, a grand jury in the District of Massachusetts returned a two-count

indictment charging Professor Lieber with violating 18 U.S.C. § 1001. (Dkt. No. 26). Count

One alleges that in 2018, Professor Lieber made a false statement to the DOD’s Defense

Criminal Investigative Service (“DCIS”), in that his statement contradicted a document that he

allegedly signed in 2012, six years prior to his statement. Count Two alleges that in 2019,

Professor Lieber caused Harvard to make a false statement to the NIH, in that his statement

contradicted the same document that he allegedly made in 2012, seven years prior to his

statement.

       On July 28, 2020, the grand jury returned a superseding indictment, which added four

additional counts (the “Superseding Indictment”). (Dkt. No. 35). Counts Three and Four charge

Professor Lieber with Filing a False Tax Return in violation of Title 26 United States Code

Section 7206(1). See id. Counts Five and Six charge a Failure to File Report of Foreign Bank

and Financial Accounts in violation of Title 31 United States Code Sections 5314 and 5322. See

id. Counts Three through Six were cobbled together from statements that Professor Lieber made

to the FBI during his post-arrest interview.

       Professor Lieber pleaded Not Guilty to all charges. (Dkt. No. 38).

B.     The Arrest

       On January 28, 2020, at approximately 6:38 AM, FBI agents and Harvard University

police entered Professor Lieber’s office and lab at Harvard University: Office 008, Mallinckrodt
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Chemistry Lab, Harvard University, 12 Oxford Street, Cambridge, Massachusetts 02138.

Attorney Young DeclarationEx. 1 (“Ex. 1”) at USAO 001869. The agents arrested Professor

Lieber upon a criminal complaint and warrant issued in the District of Massachusetts and seized

his mobile phone. Id.

         Around 7:00AM, law enforcement officers transported Professor Lieber from his office

to the Harvard University Police Department station while his hands were handcuffed behind his

back. Id. at USAO 001868. Although Professor Lieber’s office and the Harvard police station

are less than a mile apart, it took approximately 10 minutes for officers to travel by squad car to

the police station. Upon arrival at the station, Harvard University police processed Professor

Lieber and issued an arrest report. Id. Harvard University police did not document that they

read Professor Lieber his rights; the “rights” section on the arrest report is blank. Id. After

processing, Professor Lieber, still in custody, was taken upstairs to a small room for

interrogation, which was videotaped. According to the time stamp on the videotape, Special

Agents Robert Plumb (“RP”) and Kara Spice (“KS”) began questioning Professor Lieber (“CL”)

approximately 40 minutes later, at or around 7:49 am. They interrogated him for over three

hours.

C.       The Interrogation

         Once Professor Lieber was taken to the interrogation room, Agent Plumb read him his

Constitutional rights and warnings pursuant to Miranda v. Arizona, 384 U.S. 436 (1966). In

response, Professor Lieber requested an attorney:

                CL No, I understand my rights I guess. Um, yeah I’m willing to sign
                this but I guess I think probably I should have ah, an attorney.

                RP Well I want to…

                CL That’s why if anything I say is going to…

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                  RP So I understand what you are saying. Ah and I want to be very
                  open with you, we don’t—we don’t play ah tricks or anything like
                  that. Ah, we would appreciate the opportunity to talk with you but
                  because, if you request an attorney because of that privilege we are
                  not able to continue the conversation with you. So ah, what I—what
                  I have to do again um just because you said that is I have to review
                  the form again with you to make sure you understand the rights and
                  as we go through it I want you to understand. You can stop—you
                  can stop answering at any time.

                  CL Sure, I understand that. Um, ok I’ll ah sign it and then we can
                  start talking and if I feel like I need some,

                  RP Sure and like I said, Dr. Lieber I hope you ah learn to trust me.
                  We are going to treat you with respect during this process. I want to
                  be as open and transparent as possible with you and I hope to—to
                  learn from you what’s going on. That’s part of the reason why we
                  are here. Ok?

                  CL Yes.

                  RP So I’ll—I’ll read this again and you will be able to sign it. Before
                  we ask you any questions you must understand your rights. You
                  have the right to remain silent. Anything you say can be used against
                  you in court. You have the right to talk to a lawyer for advice before
                  we ask you any questions. You have the right to have a lawyer with
                  you during the questioning. If you cannot afford a lawyer one will
                  be appointed for you before any questioning if you wish. If you
                  decide to answer questions now without a lawyer present you have
                  the right to stop answering at any time. And ah, this part right here
                  says

                  CL I have read and I understand, ok.

Attorney Young Decl. Ex. 2 (“Ex. 2”)1 at 00:02:50 – 00:04:57.




1
  The government provided the videotape of the interrogation in two separate video files. All references hereinafter
to Exhibit 2 or “Ex. 2” are to filename: HARVARD-202021281254-284G_BS_3223669.mp4.

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D.     Professor Lieber’s Physical Condition

       At the time of the custodial statements, Professor Lieber was in physical pain, which

impacted the voluntariness of his statement. Lieber Decl.2

       In 2013, Professor Lieber was diagnosed with stage 2 follicular lymphoma in multiple

regions of his body. Id. Follicular lymphoma is a slow-spreading cancer that affects white blood

cells. Currently available treatments only slow the progression of his cancer. By 2016,

Professor Lieber’s cancer spread throughout his abdomen, to his chest, and skeleton. Id. By

February 2017, Professor Lieber’s cancer spread throughout his lymph nodes from his neck,

through his chest and abdomen to his groin, spleen, throughout his skeleton, including his spine,

ribs, and hips. Id. His follicular lymphoma had relapsed and worsened to grade 3A. Id. In

2018, Professor Lieber’s lymphoma continued to progress, and his bone pain and fatigue

increased. Id. This time, he experienced such severe side effects from treatment that he had to

stop after only a few months, as he developed colitis and hepatitis. Id. Colitis is a debilitating

inflammatory bowel disease and hepatitis is a devastating liver disease. By 2019, Professor

Lieber had to adhere to strict dietary restrictions due to his failing health. Id.

       At the time of the arrest, Professor Lieber suffered not only from the cancer and pain

associated with the progression of the tumors, but also from the severe sequalae of treatment. Id.

                                     III.    RELEVANT LAW

A.      Legal Standard

       “[T]he burden of showing admissibility rests, of course, on the prosecution.” Brown v.


2
  With respect to the Lieber Declaration, “[i]t has been well settled for over twenty years that
testimony given to meet standing requirements cannot be used as direct evidence against the
defendant at trial on the question of guilt or innocence.” United States v. Morales-Torres, 14-251
(GAG), 2017 WL 1373329 (D.P.R. Mar. 14, 2017) (citing United States v. García-Rosa, 876
F.2d 209, 219 (1st Cir. 1989) and Simmons v. United States, 390 U.S. 377, 390(1968)).

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Illinois, 422 U.S. 590, 604 (1975). The prosecution bears the burden of proving, at least by a

preponderance of the evidence, the Miranda waiver, Colorado v. Connelly, 479 U.S. 157, 169

(1986), and the voluntariness of the confession, Lego v. Twomey, 404 U.S. 477, 489 (1972).

B.     Right to Counsel

       i.      Unequivocal Request

       It is well established that “Miranda and its progeny require that law enforcement officers

provide warnings concerning certain Fifth Amendment rights — including the right to remain

silent and the right to consult an attorney — before interrogating a suspect in a custodial setting.”

United States v. Carpentino, 948 F.3d 10, 20 (1st Cir. 2020). Absent an exception, a custodial

statement obtained without a Miranda warning is generally inadmissible at trial. Id. “Invocation

of the Miranda right to counsel ‘requires, at a minimum, some statement that can reasonably be

construed to be an expression of a desire for the assistance of an attorney.’” United States v.

Davis, 512 U.S. 452, 459 (1994) (quoting McNeil v. Wisconsin, 501 U.S. 171, 178, (1991)). “[I]f

a suspect makes a reference to an attorney that is ambiguous or equivocal in that a reasonable

officer in light of the circumstances would have understood only that the suspect might be

invoking the right to counsel,” however, the cessation of questioning is not required. Id.

(emphasis added).

       In a custodial setting, “[t]o invoke the right to counsel in such a situation, a suspect must .

. . “unequivocally demand assistance, request the lawyer’s presence, or otherwise clearly indicate

an unwillingness to make a statement absent presence of an attorney.” Id. at 24 (quoting United

States v. Oquendo-Rivas, 750 F.3d 12, 19 (1st Cir. 2014)). Despite this, “[w]hen a suspect

makes a request for a lawyer and that request is ambiguous as to purpose, officers may — but are




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not required to — attempt to clarify whether the suspect wants a lawyer to assist with the

custodial interrogation or for some other reason.” Id.

       ii.     Re-initiation of Communication After Request for Counsel

       Although an individual may initially waive his Miranda rights, “[i]f the suspect invokes

his right to counsel at any point during the interrogation, all questioning must cease either until

an attorney is present or until the suspect initiates further communication with the officers.”

Davis, 512 U.S. at 459. “Once a suspect invokes his right to have counsel present during

custodial interrogation, the fact that he responds to later interrogation by the police does not, in

itself, establish that he validly waived that right.” Obershaw v. Lanman, 453 F.3d 56, 64 (1st

Cir. 2006) (quoting Edwards v. Arizona, 451 U.S. 477, 484-85, (1981)). In Edwards, the

defendant invoked his right to counsel, which caused police officers to halt questioning until the

following day when detectives returned, unprompted. Id. at 487. The defendant reiterated that

he did not want to speak to detectives, but they brought him in for questioning anyway, advised

him of his rights for a second time, and interrogated him. Id. Although the defendant waived his

rights and answered the detectives’ questions, the Court ruled that his second waiver was not

valid because the defendant was never given access to counsel after he had clearly requested it

the previous day, and the defendant did not re-initiate communication with the detectives; rather,

detectives interrogated him after he expressed his desire not to speak with them. Id.

C.     Voluntariness

       The voluntariness of a statement depends on “whether the will of the defendant [was]

overborne so that the statement was not his free and voluntary act, and that question [is] to be

resolved in light of the totality of the circumstances.” Bryant v. Vose, 785 F.2d 364, 367-68 (1st

Cir. 1986) (quoting Procunier v. Atchley, 400 U.S. 446, 453 (1971)). Historically, the



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requirement that admissible confessions be ‘voluntary’ reflected a variety of values; these

included deterring coercion, assuring reliability of confessions, and protecting the suspect’s free

choice whether to confess. United States v. Byram, 145 F.3d 405, 407 (1st Cir. 1998).

       In 1986, the Supreme Court ruled that only confessions procured by coercive official

tactics should be excluded as involuntary. Colorado v. Connelly, 479 U.S. 157 (1986).

However, “[j]udging whether improper police coercion occurred depends on the circumstances.”

Byram, 145 F.3d at 408. This requires a court to balance the officers’ tactics with the unique

background of each individual suspect. United States v. Hughes, 640 F.3d, 428, 438 (1st Cir.

2011). “The lynchpin of [the] analysis is whether the government’s conduct overtook the will of

the defendant.” United States v. Hufstetler, 782 F.3d 19, 22 (1st Cir. 2015).

       Since Connelly, courts have expanded the meaning of ‘coercion’ to include tactics that

are akin or similar to coercion. Id. at 408. For instance, a court may consider the quasi-coercive

nature of an agent’s tactics in deciding whether a confession was given voluntarily. United

States v. Boskic, 545 F.3d 69, 80 (1st Cir. 2008). Specifically, the Boskic court considered the

following factors as they weighed against voluntariness: (1) the agents’ decision not to inform

the defendant of the nature of the offenses that they suspected he had committed; (2) the absence

of counsel during the interview; and (3) the defendant’s nervousness and hesitancy at the outset

of the interview. Id. at 80. Courts may evaluate the length and nature of the questioning, the

existence of any explicit or implicit threats, and any deprivation of a suspect’s essential needs.

Hufstetler, 782 F.3d at 24. A promise or threat need not be explicit, but can also result from

“[s]ubtle psychological coercion.” United States v. Tingle, 658 F.2d 1332, 1335 (9th Cir. 1981).

       In some situations, courts have held that threats involving family members rise to a level

of trickery that is akin to coercion. One cluster of cases implies that the use of a family member



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uniquely tugs at a suspect’s emotions and thus can have an undue impact. In Lynnumn v. Illinois,

officers informed a defendant that her failure to cooperate would result in her losing financial aid

for, and custody of, her children. 372 U.S. 528, 534 (1963). The Court noted that the defendant

had no reason to question the officers’ capacity to carry out those threats. Id. Accordingly, the

Court deemed the tactics improper and ordered the confession suppressed. In Haynes v.

Washington, 373 U.S. 503, 513 (1963), officers repeatedly told a suspect that he would be unable

to call or see his wife until he wrote out a confession. Id. at 507. Those threats occurred over a

number of days and the defendant “gave in only after consistent denials of his requests to call his

wife, and the conditioning of such outside contact upon his accession to police demands.” Id. In

summary, “courts closely examine the specific manner in which the officer discussed the relative

and weigh such references against the defendant’s susceptibility to coercion.” Hufstetler, 782

F.3d at 24.

 IV.     THE INTERROGATORS IMPROPERLY IGNORED PROFESSOR LIEBER’S
         UNEQUIVOCAL REQUEST FOR COUNSEL IN VIOLATION OF HIS
                       CONSTITUTIONAL RIGHTS

       There is no dispute that Professor Lieber was subjected to a custodial interrogation by

Agents Plumb and Spice. Almost immediately after they entered the interrogation room, Agent

Plumb read Professor Lieber his Miranda rights and asked him if he would sign an

acknowledgment and waiver, to which Professor Lieber, still confused and disoriented by the

morning’s events, responded:

               CL No, I understand my rights I guess. Um, yeah I’m willing to sign
               this but I guess I think probably I should have ah, an attorney.
               (Ex. 2 at 00:02:51).

Agent Plumb ignored that statement and tried to misdirect Professor Lieber:

               RP Well I want to… (Ex. 2 at 00:03:00).



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Anxious and uneasy, Professor Lieber continued to express his desire for counsel:

                 CL That’s why if anything I say is going to… (Ex. 2 at 00:03:02).

Recognizing that Professor Lieber wanted counsel, Agent Plumb cut off Professor Lieber and

said, “So I understand what you are saying…” (Ex. 2 at 00:03:06). Agent Plumb then simply

disregarded Professor Lieber’s invocation, and instead re-Mirandized Professor Lieber until he

acquiesced and waived his rights.

               RP So I understand what you are saying. Ah and I want to be very
               open with you, we don’t—we don’t play ah tricks or anything like
               that. Ah, we would appreciate the opportunity to talk with you but
               because, if you request an attorney because of that privilege we are
               not able to continue the conversation with you. So ah, what I—what
               I have to do again um just because you said that is I have to review
               the form again with you to make sure you understand the rights and
               as we go through it I want you to understand. You can stop—you
               can stop answering at any time.
(Ex. 2 at 00:03:06 – 00:03:51).

          While ambiguous requests do not amount to unequivocal requests for counsel, Professor

Lieber’s request was undoubtedly understood by Agent Plumb (“So I understand what you are

saying,” i.e. that you want counsel). See contra United States v. Davis, 512 U.S. 452, 462

(1994). It is important to note that in Davis, a case in which, “maybe I should talk to a lawyer,”

was not sufficiently unequivocal, the defendant’s statement still prompted Naval Criminal

Investigative Service agents to halt their questioning. The agents then asked Davis to clarify

whether he wanted an attorney or whether he was just “making a comment about a lawyer.”

Davis, 512 U.S. at 368. The defendant definitively responded, “No I don’t want a lawyer.” Id.

at 368.

          Similarly, in Obershaw v. Lanman, the First Circuit determined that the defendant had

not made an unequivocal request for counsel when he asked, “Can I talk to a lawyer first?” 453

F.3d at 64-65. However, the significance here, again, is that the Nahant, Massachusetts police

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officers in Obershaw halted questioning, and they offered the defendant an opportunity to call a

lawyer, to which he responded that he did not want to call a lawyer, but that he actually just

wanted to “spend time outside with his dogs” (which agents permitted him to do before the

defendant himself re-initiated conversation). Id. at 58.

       Professor Lieber’s statement, “I guess I think I want a lawyer,” and Agent Plumb’s

reaction and response, are distinguishable from the defendants’ statements and the agents’

responses in Davis and Obershaw. Here, Agent Plumb failed to halt questioning despite clearly

understanding Professor Lieber’s request for counsel. Agent Plumb did not ask Professor Lieber

to clarify his statement (as in Davis) or offer him the opportunity to call a lawyer (as in

Obershaw). Agent Plumb’s reply to Professor Lieber’s statement was, in fact, a complete non

sequitur. He interrupted Professor Lieber’s request with, “I understand,” followed quickly by a

second reading of the Miranda rights before Professor Lieber could complete his thought. Agent

Plumb employed tactics of interruption and confusion to redirect Professor Lieber until he

obtained the waiver he was pressing for. Notably, Professor Lieber did not make an unequivocal

statement rejecting his previous request for a lawyer, as did the defendants in both Davis and

Obershaw.

       Under the circumstances, Professor Lieber’s words, “I guess I think,” (Ex. 2 at 00:02:56)

should not be read as equivocation. The halting language signified nothing more than a

disoriented layman’s search for the right words to offer cautious respect to the Agents while he

requested counsel. And they cannot be analyzed in a vacuum. Justice Souter aptly notes that a

defendant “need not speak with the discrimination of an Oxford don,” (Davis, 512 U.S. at 476,

concurring), though “the defendant must articulate his desire to have counsel present sufficiently

clearly that a reasonable police officer in the circumstances would understand the statement to be



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a request for an attorney.” Id. at 459. The mere utterance of a word is as important as the way in

which it is uttered; an utterance is part and parcel to the circumstances surrounding the utterance

itself. Here, such circumstances are illustrated in the audio and video recording of Professor

Lieber’s interview: a nervous, confused first-time arrestee, attempting to calmly explain himself

and his thought process as he requests an attorney, only to be interrupted by Agent Plumb

precisely because, as he acknowledged, he understood that Lieber wanted a lawyer.

        The circumstances surrounding Professor Lieber’s statement are also gleaned from

interrogators’ reactions and responses to it. Agent Plumb’s effectiveness as a federal agent

depends on his ability to read situations and individuals, taking into careful consideration the

surrounding circumstances and context of each situation and communication. Presumably,

Agent Plumb, “a reasonable officer,” fully assessed the circumstances and context within which

Professor Lieber made his request for legal counsel. See Davis, 512 U.S. at 459, supra. His

initial reaction, which was to interrupt Professor Lieber by saying, “I understand,” obviates that

Professor Lieber’s invocation was, in fact, understood as unequivocal. In fact, Agent Plumb

immediately re-read the Miranda warnings precisely because he understood that Professor

Lieber requested counsel after the first reading.

   V.     PROFESSOR LIEBER DID NOT RE-INITIATE COMMUNICATION WITH
                            INTERROGATORS

        The order of the interactions between Professor Lieber and Agent Plumb was as follows:

(a) Agent Plumb read Professor Lieber his Miranda rights (Ex. 2 at 00:01:53 – 00:02:23); (b)

Professor Lieber asked for a lawyer (Ex. 2 at 00:02:55); (c) Agent Plumb acknowledged and

interrupted Professor Lieber, rejecting his request (Ex. 2 at 00:03:06 – 00:03:51); (d) Agent

Plumb re-read Professor Lieber his Miranda rights (Ex. 2 at 00:04:21 – 00:04:51); (e) Agent

Plumb thereafter interrogated Professor Lieber. When Professor Lieber requested a lawyer after

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Agent Plumb’s first reading of the Miranda rights, Agent Plumb was required to halt all

questioning, until and unless Professor Lieber initiated it himself. See Edwards, 451 U.S. at 487

(emphasis added). In accordance with Edwards (discussed supra. at III(B)(ii)), Professor

Lieber’s eventual Miranda waiver was ineffective because he had unequivocally asserted his

right to counsel just minutes prior. Professor Lieber’s request for counsel did not magically

disappear just because Agent Plumb chose to ignore it, and instead, press a second attempt at

waiver.

          The right to counsel is not a stand-alone Constitutional right. The right to counsel is a

right that was created, through caselaw, to protect an individual’s right against self-

incrimination, which is a Constitutional right. In Davis, the Court succinctly stated:

              We held in Miranda that a suspect is entitled to the assistance of
              counsel during custodial interrogation even though the Constitution
              does not provide for such assistance. We held in Edwards that if the
              suspect invokes the right to counsel at any time, the police must
              immediately cease questioning him until an attorney is present.
Davis, 512 U.S. at 462.

          Viewed through this lens, Agent Plumb’s tactic is wholly repugnant to the holdings of

Miranda and Edwards: to wit, the unyielding repetition of the Miranda rights to a noncompliant

suspect until he acquiesced. Such an end-run around Miranda in order to obtain statements from

an individual who asserted his right to counsel requires suppression of those statements.

  VI.       PROFESSOR LIEBER’S POST-ARREST STATEMENTS RESULTED FROM
                     IMPROPER COERCION AND TRICKERY

          Even assuming, arguendo, that Professor Lieber effectively waived his right to counsel,

his statements to Agent Plumb and Agent Spice were the result of coercion and trickery in light

of the circumstances surrounding the interrogation. On the morning of January 28, 2020,

Professor Lieber arrived at his office at sunrise only to be blindsided by federal agents who



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ransacked his office, arrested him, and hauled him off for questioning. He knew nothing of the

investigation. When Professor Lieber was taken into the interrogation room, Agent Plumb

immediately acknowledged that his arrest that morning must have been “probably an unexpected

[ ] surprise.” Ex. 2 at 00:00:32. He did not attempt to explain the reason for Professor Lieber’s

arrest, or what crime Professor Lieber was suspected to have committed, other than to simply

inform him that they had a warrant for his arrest. Id. Agent Plumb stated first and foremost that

he just wanted to “learn what’s going on.” Id. at 00:04:10.

       Once Agent Plumb began his interrogation, he asked Professor Lieber – again – if he had

“any inclination” as to why they were there, to which Professor Lieber responded, “Not exactly.”

Id. at 00:05:42. Agent Plumb explained that they just wanted to “understand” how the use of

grants works in the scientific community, and get a sense of Professor Lieber’s background and

research. Id. at 00:06:15. Agent Plumb then proceeded to ask general questions amounting to

nothing more than ‘a day in the life’ of Professor Lieber: the nature of his work and experience,

how he runs his lab, who he works with, who he mentors, and how grants are used by Harvard

University to facilitate research. Agent Plumb stated that he was concerned with “protecting

[Professor Lieber] as an interest” (Id. at 01:01:31) and implied that Professor Lieber was the

victim of exploitation by Chinese government officials. He later repeated the same sentiment:

“I’m very concerned about protecting you as an interest and making sure other people don’t be

put [sic] in the same position as you.” Id. at 01:10:16 (emphasis added).

       Like the officers in Boskic (supra.), Agent Plumb and Agent Spice failed to inform

Professor Lieber of the nature of the offenses that they suspected he had committed, and they

twice acknowledged that his arrest was a total surprise. Id. at 00:00:32, 00:05:42. More

egregious is the fact that they misrepresented their focus, citing their supposed national security



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concerns about China. Ex. 2 at 01:01:33, 01:10:16. Indeed, the Agents portrayed Professor

Lieber as a victim of the Chinese, and they expressed their concern for his safety (see e.g., Ex. 2

at 01:10:33). After Agent Plumb ignored Professor Lieber’s request for counsel during the

interview, he took advantage of the fact that Professor Lieber was disoriented, nervous, and

confused that he was being questioned about names and events from eight years prior. Then he

capitalized on Professor Lieber’s confusion and created a ruse that they were concerned about

national security and protecting Professor Lieber from aggressive Chinese intelligence practices.

       To compound Professor Lieber’s vulnerability, he was battling – and is still battling –

cancer. Lieber Decl. The barrage of treatments he had endured for almost seven years brought

on new diseases (colitis and hepatitis), and a constant plague of fatigue and frailty. Id. He had

not eaten or had anything to drink yet that day – despite being arrested at approximately 6:30 am,

held in custody, and interviewed until approximately noon. Id. While the Agents offered, he

was concerned about his ability to eat anything that would not exacerbate his colitis. Id. He was

weak from his treatments and in physical pain from the cancer in his skeleton. Id.; see also Ex. 2

at 00:36:44, 00:38:54, 00:54:49, 02:23:26. On the day of Professor Lieber’s arrest, he did not

believe he was free to leave. Id. When the government Agent read him his rights, he wanted –

and requested – a lawyer, but was summarily denied. Id. He had never been arrested before, and

when the Agent interrupted his request to read his rights yet again, Professor Lieber believed he

had no choice but to answer the Agent’s questions. Id. His physical pain, fatigue, and nausea

made him more vulnerable, and he did not have the strength or stamina to reiterate his request for

an attorney more forcefully than he previously had. Id.

       The Agents’ interrogation of Professor Lieber satisfies the Boskic factors (cited supra. at

III(C)) in that Professor Lieber’s statements were not voluntary: (1) Agents repeatedly



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acknowledged that Professor Lieber likely had no idea why he was being questioned, and instead

expressed their concern for national security; (2) counsel for Professor Lieber was not present;

and (3) the audio and video of the interrogation clearly shows a nervous, hesitant individual

(described supra.). This Court should also consider Agent Plumb’s interruption and quick

rejection of Professor Lieber’s request for counsel in light of the “subtle psychological coercion”

discussed in United States v. Tingle, 658 F.2d at 1335. Finally, this Court must consider

Professor Lieber’s weak and unstable health and lack of sustenance, in the lens of United States

v. Hufstetler, 782 at 22 (“deprivation of a suspect’s essential needs”). Taken as a whole (Byram,

145 F.3d at 408), and considering Professor Lieber’s unique background (Hughes, 640 F.3d at

438), this Court can only draw one conclusion: Professor Lieber’s statements were not voluntary

and must be suppressed.

                               VII.    REQUEST FOR RELIEF

       For the reasons stated herein, this Court should grant Professor Lieber’s Motion to

Suppress post-arrest statements made to interrogators on January 28, 2020 and all evidence

derived therefrom.




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                                               Respectfully submitted,

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Dated: July 12, 2021




                                CERTIFICATION OF SERVICE

        I, Torrey K. Young, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on July 12, 2021.

                                                       /s/ Torrey K. Young ___
                                                      Torrey K. Young




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